Case 22-10263-KBO   Doc 246-21   Filed 05/13/22   Page 1 of 9




           EXHIBIT 21
Case 22-10263-KBO   Doc 246-21   Filed 05/13/22   Page 2 of 9
Case 22-10263-KBO   Doc 246-21   Filed 05/13/22   Page 3 of 9
Case 22-10263-KBO   Doc 246-21   Filed 05/13/22   Page 4 of 9
Case 22-10263-KBO   Doc 246-21   Filed 05/13/22   Page 5 of 9
Case 22-10263-KBO   Doc 246-21   Filed 05/13/22   Page 6 of 9
Case 22-10263-KBO   Doc 246-21   Filed 05/13/22   Page 7 of 9
Case 22-10263-KBO   Doc 246-21   Filed 05/13/22   Page 8 of 9
Case 22-10263-KBO   Doc 246-21   Filed 05/13/22   Page 9 of 9
